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 7
                              EASTERN DISTRICT OF CALIFORNIA
 8

 9 UNITED STATES OF AMERICA,                                Case No. 16-CR-00092-JAM
10                 Plaintiff,                               ORDER ALLOWING PARTIAL
                                                            RECONVEYANCE
11                  vs.
12 WAYNE YORK,

13                 Defendant.
14

15          Wayne York is presently free on a $1,000,000.00 bond. The primary securities for that bond are
16 several properties in Colorado owned by Lee Davidson. Mr. York’s mother has also posted her home.

17 Mr. Davidson would like to temporarily remove two of his properties at 3690 Madison in Boulder,

18 Colorado and 906 Harrison Drive in Lafayette, Colorado so they can be refinanced. As a result of rising

19 real estate values, that will still leave more than $1,000,000.00 in equity securing York’s presence, while

20 the refinancing is going on. Because York’s appearance will still be secured by a $1,000,000.00 bond

21 and the government has no opposition to this request,

22          IT IS HEREBY ORDERED THAT the Clerk shall execute the attached reconveyances so that
23 the two properties may be refinanced. Mr. York’s counsel shall arrange for the reposting of the

24 properties within three weeks of the close of the refinancing.

25
     Dated: March 2, 2017
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27

28



     ORDER FOR CLERK TO SIGN RECONVEYANCES 16-CR-00092-JAM
